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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


CONLEY F. MONK, JR., et al.,


                     Plaintiffs,
                                                    Civil Action No. 3:22-cv-01503 (SRU)
                    V.



UNITED STATES OF AMERICA,                           September 26, 2023

                    Defendant.




                          LAW STUDENT INTERN APPEARANCE

         1. Certification of Law Student


I certify that:

    (a) I, Jessica Angel, am enrolled in good standing at Yale Law School, in accordance with


        this Court's Local Rule 83.9(c)(l);

    (b) I have completed at least two semesters of credit in legal studies; and

    (c) I am neither employed by nor receiving compensation from clients in this case.




Date: September 26, 2023                      Signatire:
       Case 3:22-cv-01503-SRU             Document 74-1         Filed 09/28/23       Page 2 of 2




                                     CONSENT OF CLIENT

       I hereby consent to the appearance of Jessica Angel to provide legal service and appear in


court or administrative tribunals for me in the above-captioned matter under the supervision of


NATALIA FRIEDLANDER and MICHAEL J. WISHNIE.




 Date: September 26, 2023 signature: {..^s^f ^^L^.
                                                     Conley F. Monk, Jr.
                                                    Individually and as Administrator of the
                                                     Estate ofConley F. Monk, Sr.



 Date: September 26, 2023
                                       Signature: ^^^
                                                     Garry Monk
                                                     Executive Director
                                                     National Veterans Council for Legal Redress



                         CONSENT OF SUPERVISING ATTORNEYS

       I hereby certify that I am a member of the bar of the United States District Court for the

District of Connecticut, and I will assume professional responsibility for the work of Jessica


Angel as a law student intern, that I will assist the student to the extent necessary, and that I will


appear with the student in all proceedings before the Court.


 Date: September 26, 2023 Signature: /s/ Natalia Friedlander
                                            Natalia Friedlander



 Date: September 26, 2023 Signature: /s/ Michael J. Wishnie
                                            Michael J. Wishnie
